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                                          UNITED STATES DISTRICT COURT
                                                                      for the
                                                               District of Colorado

             In the Matter of the Search of
                                                                   )       Case No. 19-sw-06098-KLM
 830 Centennial Drive, Bennett, Colorado 80102                     )
 more fully described in Attachment A, attached                    )
 hereto, to include a silver Subaru Impreza with                   )
 Colorado plate ESQ042 and the persons of                          )
 individuals present at the time of the search warrant             )
 execution.                                                        )

                                             APPLICATION FOR A SEARCH WARRANT

        I, Allison Hirsch, a federal law enforcement officer or an attorney for the government, request a search warrant and state
under penalty of perjury that I have reason to believe that there is now concealed on the following person or property
located in the State and District of Colorado (identify the person or describe property to be searched and give its location):

          SEE “ATTACHMENT A”, which is attached to and incorporated in this Application and Affidavit

          The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):

          SEE “ATTACHMENT B”, which is attached to and incorporated in this Application and Affidavit

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                    X evidence of a crime;
                    X contraband, fruits of crime, or other items illegally possessed;
                    X property designed for use, intended for use, or used in committing a crime;
                          a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of 18        U.S.C. §§ 2252 and 2252A , and the application is based on these facts:

          X Continued on the attached affidavit, which is incorporated by reference.
              Delayed notice of       days (give exact ending date if more than 30 days:                                ) is requested
              under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                            s/ Allison Hirsch
                                                                                                    Applicant’s signature

                                                                                      Allison Hirsch, FBI Special Agent
                                                                                                     Printed name and title

Sworn to before me and:              signed in my presence.
                                     submitted, attested to, and acknowledged by reliable electronic means.

Date:     04August
             Nov 2019
                   25, 2012
                                                                                                    Judge’s signature
                                                                            Kristen L. Mix
City and state: Denver, Colorado                                            United States Magistrate Judge
                                                                                                    Printed name and title
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                                      ATTACHMENT A

                   DESCRIPTION OF LOCATION TO BE SEARCHED

The Subject Premises is located at 830 Centennial Drive, Bennett, Colorado 80102. The Subject
Premises is a single family house with an attached garage. The address, “830,” is in black above
the garage. The Subject Premises includes a silver Subaru Impreza with Colorado plate ESQ042
that is registered to Brian Christopher Jackson at 830 Centennial Drive, Bennett, Colorado
80102, and the person or individuals present at the Subject Premises at the time of the search
warrant execution and all closed and locked containers therein.




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                                       ATTACHMENT B

              DESCRIPTION OF ITEMS TO BE SEIZED AND SEARCHED

The following items, located within the Subject Premises as defined in Attachment A that
constitute evidence of the commission of, contraband, the fruits of crime, or instrumentalities of
violations of Title 18, United States Code, Sections 2252(a)(1), (2), and (4) and 2252A(a)(1), (2),
(3), and (5) (hereinafter “Subject Offenses”):

1. Images or visual depictions of child pornography.

2. Records and information containing child erotica, including texts, images and visual
   depictions of child erotica.

3. Any and all information, notes, software, documents, records, or correspondence, in any
   format and medium, pertaining to violations of the Subject Offenses.

4. Any and all information, notes, documents, records, or correspondence, in any format or
   medium, concerning communications about child pornography or sexual activity with or
   sexual interest in minors.

5. Any and all information, notes, documents, records, or correspondence, in any format or
   medium, concerning Internet activity reflecting a sexual interest in minors or child
   pornography.

6. Any and all information, notes, software, documents, records, or correspondence, in any form
   and medium pertaining to any minor who is, or appears to be, the subject of any visual
   depiction of child pornography, child erotica, sexual activity with other minors or adults, or
   of sexual interest, or that may be helpful in identifying any such minors.

7. Any and all address books, names, and lists of names and addresses of individuals who may
   have been contacted by use of the computer or by other means for the purpose of committing
   violations of the Subject Offenses:

8. Any and all information, notes, documents, records, or correspondence, in any format or
   medium, concerning membership in online groups, clubs, or services that provide or make
   accessible child pornography.

9. Any and all cameras, film, videotapes or other photographic equipment that constitute
   evidence of the commission of, contraband, the fruits of crime, or instrumentalities of
   violations of the Subject Offenses.

10. Any and all information, records, documents, invoices and materials, in any format or
    medium, that concern any accounts with an Internet Service Provider pertaining to violations
    of the Subject Offenses.

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11. Any and all information, records, documents, invoices and materials, in any format or
    medium, that concern e-mail accounts, online storage, or other remote computer storage
    pertaining to violations of the Subject Offenses.

12. Any and all information, documents, records, photos, videos, or correspondence, in any
    format or medium, pertaining to occupancy or ownership of the premises and use or
    ownership of computer equipment found in the premises, or that aid in the identification of
    persons involved in violations of the Subject Offenses.

13. Credit cards, credit card information, bills and payment records pertaining to violations of the
    Subject Offenses.

14. Information about usernames or any online accounts or email addresses that include the use
    of Comcast or the IP addresses 73.3.140.92;

15. Computer(s), digital storage media, or digital storage devices, any physical object upon
    which computer data can be recorded, computer hardware, computer software, servers,
    computer related documentation, computer passwords and data security devices, gaming
    devices, tablets, flash drives, volatile data, digital communications devices, cellular
    telephones, cameras, videotapes, video recording devices, video recording players, and video
    display monitors, digital input and output devices such as keyboards, mouse(s), scanners,
    printers, monitors, electronic media and network equipment, modems, routers, connection
    and power cords, and external or connected devices used for accessing computer storage
    media that was used to commit or facilitate commissions of the Subject Offenses.

16. For any computer, computer hard drive, or other physical object upon which computer data
    can be recorded (hereinafter, COMPUTER) that is called for by this warrant, or that might
    contain items otherwise called for by this warrant:

       a. evidence of who used, owned, or controlled the COMPUTER at the time the items
          described in this warrant were created, edited, or deleted, such as logs, registry
          entries, configuration files, saved usernames and passwords, documents, calendars,
          browsing history, user profiles, e-mail, e-mail contacts, "chat" or instant messaging
          logs, photographs, and correspondence;

       b. evidence of software that may allow others to control the COMPUTER, such as
          viruses, Trojan horses, and other forms of malicious software, as well as evidence of
          the presence or absence of security software designed to detect malicious software;

       c. evidence of the lack of such malicious software;

       d. evidence of the attachment to the COMPUTER of other storage devices or similar
          containers for electronic evidence;

       e. evidence of counter-forensic programs (and associated data) that are designed to
          eliminate data from the COMPUTER;
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       f. evidence of how and when the COMPUTER was used or accessed to determine the
          chronological context of computer access, use, and events relating to crime under
          investigation and to the computer user;

       g. records of or information about Internet Protocol addresses used by the COMPUTER,
          including IP address 73.3.140.92;

       h. evidence indicating the computer user’s state of mind as it relates to the crime under
          investigation, namely crimes involving child exploitation and child pornography;

       i. passwords, encryption keys, and other access devices that may be necessary to access
          the COMPUTER;

       j. documentation and manuals that may be necessary to access the COMPUTER or to
          conduct a forensic examination of the COMPUTER;

       k. contextual information necessary to understand the evidence described in this
          attachment;

       l. volatile data necessary to preserve evidence prior to powering-off and unplugging a
          running computer.

       m. images and visual depictions of child pornography;

       n. records and information containing child erotica, including texts, images and visual
          depictions of child erotica;

       o. any and all information, notes, software, documents, records, or correspondence, in
          any format and medium, pertaining to violations of the Subject Offenses;

       p. any and all information, notes, documents, records, or correspondence, in any format
          or medium, concerning communications about child pornography or sexual activity
          with or sexual interest in minors;

       q. items otherwise described above in paragraphs 1- 14 of this Attachment B.

17. Executing law enforcement personnel are authorized to depress the fingerprints and/or
    thumbprints of persons reasonably believed to be the user(s) of the device onto the Touch ID
    or fingerprint sensor of any Apple iPhone, iPad, or other Apple brand device, or other device
    that has a fingerprint sensor, in order to gain access to the contents of any such device. Law
    enforcement personnel may also depress the fingerprints and/or thumbprints of persons
    reasonably believed to be the user(s) of the device in order to gain access to applications on
    the device that may be locked with a fingerprint or thumbprint.




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DEFINITIONS:

18. As used above, the terms "records" and "information" include all of the foregoing items of
    evidence in whatever form and by whatever means they may have been created or stored,
    including any form of computer or electronic storage (such as hard disks or other media that
    can store data); any handmade form (such as writing, drawing, painting); any mechanical
    form (such as printing or typing); and any photographic form (such as microfilm, microfiche,
    prints, slides, negatives, videotapes, motion pictures, or photocopies).

19. “Child Pornography” is defined in 18 U.S.C. § 2256(8), which includes as any visual
    depiction of sexually explicit conduct involving the use of a minor; a digital image, computer
    image, or computer-generated image that is, or is indistinguishable from that of a minor
    engaged in sexually explicit conduct; or a visual depiction that has been created, adapted, or
    modified to appear than an identifiable minor is engaging in sexually explicit conduct.

20. “Visual depiction” includes prints, copies of visual images, developed and undeveloped film
    and videotape, and data stored on computer disk or by electronic means, which is capable of
    conversion into a visual image. See 18 U.S.C. § 2256(5).

21. “Child Erotica” means materials or items that are sexually arousing to persons having a
    sexual interest in minors but that are not, in and of themselves, obscene or that do not
    necessarily depict minors in sexually explicit poses or positions; this also includes texts or
    discussions regarding minors engaged in sexual acts or conduct.

22. As used above, the terms “computers” or “digital storage media” or “digital storage devices”
    may be used interchangeably, and are intended to include any physical object upon which
    computer data can be recorded as well as all types of electronic, magnetic, optical,
    electrochemical, or other high speed data processing devices capable of performing logical,
    arithmetic, or storage functions, including desktop and laptop computers, mobile phones,
    tablets, server computers, game consoles, network hardware, hard disk drives, RAM, floppy
    disks, flash memory, CDs, DVDs, and other magnetic or optical storage media.




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                                           AFFIDAVIT

I, Allison Hirsch, being duly sworn, hereby depose and state that the following is true to the best
of my information, knowledge, and belief:

                       INTRODUCTION AND AGENT BACKROUND

1. I am a Special Agent of the Federal Bureau of Investigation, and have been since 2009. I am
   currently assigned to the Denver FBI Child Exploitation Task Force. As part of my duties, I
   investigate criminal violations relating to child exploitation and child pornography, including
   violations pertaining to the illegal production, distribution, receipt and possession of child
   pornography, in violation of Title 18, United States Code, Sections 2251, 2252, and 2252A.
   As part of my experience, I have reviewed images containing child pornography in a variety
   of formats (such as digital still images and video images) and media (such as digital storage
   devices, the Internet, and printed images).

2. This affidavit is submitted in support of an application for a search warrant for the place
   described in Attachment A (hereinafter “Subject Premises,”), and the computer(s) located
   therein, there being probable cause to believe that located in the place described in
   Attachment A are items described in Attachment B, being evidence, fruits, and
   instrumentalities of violations of Title 18, United States Code, Sections 2252(a)(1), (2), and
   (4) and 2252A(a)(1), (2), (3), and (5).

3. Because this affidavit is being submitted for the limited purpose of securing a search warrant,
   I have not included each and every fact known to me concerning this investigation. I have
   set forth facts that I believe are necessary to establish probable cause to believe that evidence,
   fruits, and instrumentalities of violations of Title 18, United States Code, Sections 2252 and
   2252A are presently located at the Subject Premises.

4. The information contained within the affidavit is based on my training and experience, as
   well as information imparted to me by other law enforcement officers involved in this
   investigation.

                                    RELEVANT STATUTES

5. This investigation concerns alleged violations of 18 U.S.C. Sections 2252 and 2252A,
   relating to material involving the sexual exploitation of minors.

6. 18 U.S.C. Sections 2252 and 2252A prohibit a person from knowingly possessing or
   accessing sexually explicit images (child pornography) with the intent to view them as well
   as transporting, receiving, distributing or possessing in interstate or foreign commerce, or by
   using any facility or means of interstate or foreign commerce, any visual depiction of minors
   engaging in sexually explicit conduct (child pornography).



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                                         DEFINITIONS

7. The following definitions apply to this Affidavit and Attachment B to this Affidavit.

8. “Child Pornography” includes the definition in 18 U.S.C. § 2256(8) (any visual depiction of
   sexually explicit conduct where (a) the production of the visual depiction involved the use of
   a minor engaged in sexually explicit conduct, (b) the visual depiction is a digital image,
   computer image, or computer-generated image that is, or is indistinguishable from, that of a
   minor engaged in sexually explicit conduct, or (c) the visual depiction has been created,
   adapted, or modified to appear that an identifiable minor is engaged in sexually explicit
   conduct).

9. “Visual depictions” includes prints, copies of visual images, developed and undeveloped film
   and videotape, and data stored on computer disk or by electronic means, which is capable of
   conversion into a visual image See 18 U.S.C. § 2256(5).

10. “Child Erotica” means materials or items that are sexually arousing to persons having a
    sexual interest in minors but that are not, in and of themselves, obscene or that do not
    necessarily depict minors in sexually explicit poses or positions.

11. “IP Address” means Internet Protocol address, which is a unique numeric address used by
    computers on the Internet. Every computer attached to the Internet must be assigned an IP
    address so that Internet traffic sent from and directed to that computer may be directed
    properly from its source to its destination. Most Internet service providers control a range of
    IP addresses. Some computers have static—that is, long-term—IP addresses, while other
    computers have dynamic—that is, frequently changed—IP addresses.

12. “Internet” means a global network of computers and other electronic devices that
    communicate with each other. Due to the structure of the Internet, connections between
    devices on the Internet often cross state and international borders, even when the devices
    communicating with each other are in the same state.

13. In this affidavit, the terms “computers” or “digital storage media” or “digital storage devices”
    may be used interchangeably, and are intended to include any physical object upon which
    computer data can be recorded as well as all types of electronic, magnetic, optical,
    electrochemical, or other high speed data processing devices capable of performing logical,
    arithmetic, or storage functions, including desktop and laptop computers, mobile phones,
    tablets, server computers, game consoles, network hardware, hard disk drives, RAM, floppy
    disks, flash memory, CDs, DVDs, and other magnetic or optical storage media.

                            SEIZURE AND SEARCH OF COMPUTERS

14. As described above and in Attachment B, I submit that if computers or storage media are
    found at the Subject Premises, there is probable cause to search and seize those items for the
    reasons stated below. Some of these electronic records might take the form of files,


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   documents, and other data that is user-generated. Some of these electronic records, as
   explained below, might take a form that becomes meaningful only upon forensic analysis.
   They may be seized and searched on-scene, and/or searched off-scene in a controlled
   environment.

15. For example, based on my experience, as well as information imparted to me by other law
    enforcement officers, I know that a powered-on computer maintains volatile data. Volatile
    data can be defined as active information temporarily reflecting a computer's current state
    including registers, caches, physical and virtual memory, network connections, network
    shares, running processes, disks (floppy, tape and/or CD-ROM), and printing activity.
    Collected volatile data may contain such information as opened files, connections to other
    computers, passwords used for encryption, the presence of anti-forensic tools, or the presence
    of programs loaded in memory that would otherwise go unnoticed. Volatile data and its
    corresponding evidentiary value is lost when a computer is powered-off and unplugged.

16. Based on my experience, as well as information imparted to me by other law enforcement
    officers, I know that computer files or remnants of such files can be recovered months or
    even years after they have been downloaded onto a storage medium, deleted, or viewed via
    the Internet. Electronic files downloaded to a storage medium can be stored for years at little
    or no cost. Even when files have been deleted, they can be recovered months or years later
    using forensic tools. This is so because when a person “deletes” a file on a computer, the
    data contained in the file does not actually disappear; rather, that data remains on the storage
    medium until it is overwritten by new data. Therefore, deleted files, or remnants of deleted
    files, may reside in free space or slack space—that is, in space on the storage medium that is
    not currently being used by an active file—for long periods of time before they are
    overwritten. In addition, a computer’s operating system may also keep a record of deleted
    data in a “swap” or “recovery” file.

17. Also, again based on my experience, as well as information imparted to me by other law
    enforcement officers, I know that wholly apart from user-generated files, computer storage
    media contain electronic evidence of how a computer has been used, what it has been used
    for, and who has used it. This evidence can take the form of operating system
    configurations, artifacts from operating system or application operation, file system data
    structures, virtual memory “swap” or paging files, and shadow copies of previous versions of
    systems or files, or paging files. Computer users typically do not erase or delete this
    evidence because special software is typically required for that task. However, it is
    technically possible to delete this information. Data on the storage medium not currently
    associated with any file can provide evidence of a file that was once on the storage medium
    but has since been deleted, edited, moved, or show a deleted portion of a file (such as a
    paragraph that has been deleted from a word processing file). Web browsers, e-mail
    programs, and chat programs store configuration information on the storage medium that can
    reveal information such as online nicknames and passwords. Operating systems can record
    additional information, such as the attachment of peripherals, the attachment of USB flash
    storage devices or other external storage media, and the times the computer was in use.



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   Computer file systems can record information about the dates files were created and the
   sequence in which they were created.

18. As further described in Attachment B, this application seeks permission to locate not only
    computer files that might serve as direct evidence of the crimes described on the warrant, but
    also for evidence that establishes how computers were used, why they were used, the purpose
    of their use, and the purposes to which they were put, who used them, the state of mind of the
    user(s), and when they were used.

19. The monitor and printer are also essential to show the nature and quality of the images or
    files that the system can produce. In addition, the analyst needs all assisting software
    (operating systems or interfaces, and hardware drivers) and any applications software, which
    may have been used to create the data (whether stored on hard drives or on external media),
    as well as all related instructional manuals or other documentation and security devices.
    Moreover, searching computerized information for evidence or instrumentalities of crime
    commonly requires the seizure of the entire computer’s input/output periphery devices
    (including related documentation, passwords and security devices) so that a qualified expert
    can accurately retrieve the system’s data in a controlled environment.

20. The computer and its storage devices, the mouse, the monitor, keyboard, printer, modem and
    other system components are also used as instrumentalities of the crime to operate the
    computer to commit offenses involving the sexual exploitation of minors. Devices such as
    modems and routers can contain information about dates, IP addresses, MAC addresses,
    frequency, and computer(s) used to access the Internet or to otherwise commit the crimes
    described herein. The computer equipment may also have fingerprints on them indicating the
    user of the computer and its components.

21. Information or files related to the crimes described herein are often obtained from the
    Internet or the cellular data networks using application software which often leaves files, logs
    or file remnants which would tend to show the identity of the person engaging in the conduct
    as well as the method of location or creation of the images, search terms used, exchange,
    transfer, distribution, possession or origin of the files. Files that have been viewed via the
    Internet are sometimes automatically downloaded into a temporary Internet directory or
    “cache.” The browser often maintains a fixed amount of hard drive space devoted to these
    files, and the files are only overwritten as they are replaced with more recently viewed
    Internet pages or if a user takes steps to delete them. Thus, the ability to retrieve residue of
    an electronic file from a hard drive depends less on when the file was downloaded or viewed
    than on a particular user’s operating system, storage capacity, and computer habits.

22. “User attribution” evidence can also be found on a computer and is analogous to the search
    for “indicia of occupancy” while executing a search warrant at a residence. For example,
    registry information, configuration files, user profiles, e-mail, e-mail address books, “chat,”
    instant messaging logs, photographs, videos, and correspondence (and the data associated
    with the foregoing, such as file creation and last accessed dates) may be evidence of who
    used or controlled the computer or storage medium at a relevant time. For example, your


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   Affiant knows from experience, as well as information imparted to me by other law
   enforcement officers, that persons trading in, receiving, transporting, distributing or
   possessing images involving the sexual exploitation of children or those interested in the
   firsthand sexual exploitation of children often communicate with others through
   correspondence or other documents which could tend to identify the origin and possessor of
   the images as well as provide evidence of a person's interest in child pornography or child
   sexual exploitation. Further, in finding evidence of how a computer was used, the purpose of
   its use, who used it, and when, sometimes it is necessary to establish that a particular thing is
   not present on a storage medium. For example, the presence or absence of counter-forensic
   programs or anti-virus programs (and associated data) may be relevant to establishing the
   user’s intent.

23. Your Affiant knows from experience, as well as information imparted to me by other law
    enforcement officers, that digital software or hardware exists that allows persons to share
    digital access over wired or wireless networks allowing multiple persons to appear on the
    Internet from the same IP address. Examination of these items can reveal information about
    the authorized or unauthorized use of Internet connection at the residence.

24. Searching computer(s) for the evidence described in the attachment may require a range of
    data analysis techniques. For example, information regarding user attribution or Internet use
    is located in various operating system log files that are not easily located or reviewed. Or, a
    person engaged in criminal activity will attempt to conceal evidence of the activity by
    “hiding” files or giving them deceptive names. As explained above, because the warrant
    calls for records of how a computer has been used, what it has been used for, and who has
    used it, it is exceedingly likely that it will be necessary to thoroughly search storage media to
    obtain evidence, including evidence that is not neatly organized into files or documents. Just
    as a search of a premises for physical objects requires searching the entire premises for those
    objects that are described by a warrant, a search of this premises for the things described in
    this warrant will likely require a search among the data stored in storage media for the things
    (including electronic data) called for by this warrant. Additionally, it is possible that files
    have been deleted or edited, but that remnants of older versions are in unallocated space or
    slack space. This, too, makes it exceedingly likely that in this case it will be necessary to use
    a multitude of techniques, both on and off-scene, including more thorough techniques.

25. Furthermore, because there is probable cause to believe that the computer and its storage
    devices are all instrumentalities of crimes involving child exploitation, they should all be
    seized as such.

26. Based upon my experience, as well as information imparted to me by other law enforcement
    officers, I know that a thorough search for information stored in digital storage media
    requires a variety of techniques, that often includes both on-site seizure and search as well as
    a more thorough review off-site review in a controlled environment. This variety of
    techniques is required, and often agents must seize most or all storage media to be searched
    on-scene and/or later in a controlled environment. These techniques are often necessary to



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   ensure the accuracy and completeness of data recorded on the storage media, and to prevent
   the loss of the data either from accidental or intentional destruction.

27. For example, the search procedure of electronic data contained in computer hardware,
    computer software, and/or memory storage devices may include the following on-site
    techniques (the following is a non-exclusive list, as other on-site search procedures may be
    used):

               A. On-site triage of computer systems to determine what, if any, peripheral
                  devices or digital storage units have been connected to such computer
                  systems, a preliminary scan of image files contained on such systems and
                  digital storage devices to help identify any other relevant evidence or potential
                  victims, and a scan for encryption software;

               B. On-site copying and analysis of volatile memory, which is usually lost if a
                  computer is powered down, and may contain information about how the
                  computer is being used, by whom, when, and may contain information about
                  encryption, virtual machine software (virtual operating systems that are lost if
                  the computer is powered down or encrypted);

               C. On-site forensic imaging of any computers may be necessary for computers or
                  devices that may be partially or fully encrypted, in order to preserve
                  unencrypted electronic data that may, if not immediately imaged on-scene,
                  become encrypted and accordingly unavailable for any examination.

28. The search procedure of electronic data contained in computer hardware, computer software,
    and/or memory storage devices may include off-site techniques since it is often necessary
    that some computer equipment, peripherals, instructions, and software be seized and
    examined off-site and in a controlled environment. This is true because of the following:

       A. The nature of evidence. As noted above, not all evidence takes the form of
          documents and files that can be easily viewed on site. Analyzing evidence of how,
          when and why a computer has been used, by whom, what it has been used for,
          requires considerable time, and taking that much time on premises could be
          unreasonable. Also, because computer evidence is extremely vulnerable to tampering
          and destruction (both from external sources and from code embedded in the system as
          a “booby-trap”), the controlled environment of a laboratory may be essential to its
          complete and accurate analysis. Searching for and attempting to recover any deleted,
          hidden, or encrypted data may be required to determine whether data falls within the
          list of items to be seized as set forth herein (for example, data that is encrypted and
          unreadable may not be returned unless law enforcement personnel have determined
          that the data is not (1) an instrumentality of the offenses, (2) a fruit of the criminal
          activity, (3) contraband, (4) otherwise unlawfully possessed, or (5) evidence of child
          exploitation offenses).



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      B. The volume of evidence and time required for an examination. Storage media can
         store the equivalent of millions of pages of information. Additionally, a suspect may
         try to conceal criminal evidence; he or she might store it in random order with
         deceptive file names. This may require searching authorities to peruse all the stored
         data to determine which particular files are evidence or instrumentalities of crime.
         Analyzing evidence of how a computer has been used, what it has been used for, and
         who has used it requires considerable time, and taking that much time on premises
         could be unreasonable. As explained above, because the warrant calls for forensic
         electronic evidence, it is exceedingly likely that it will be necessary to thoroughly
         examine storage media to obtain evidence. Reviewing information for things
         described in the warrant can take weeks or months, depending on the volume of data
         stored, and would be impractical and invasive to attempt on-site.

      C. Technical requirements. Computers can be configured in several different ways,
         featuring a variety of different operating systems, application software, and
         configurations. Therefore, searching them sometimes requires tools or knowledge
         that might not be present on the search site. The vast array of computer hardware and
         software available makes it difficult to know before a search what tools or knowledge
         will be required to analyze the system and its data on-site. However, taking the
         storage media off-site and reviewing it in a controlled environment will allow its
         examination with the proper tools and knowledge.

      D. Variety of forms of electronic media. Records sought under this warrant could be
         stored in a variety of storage media formats that may require off-site reviewing with
         specialized forensic tools.

      E. Need to review evidence over time and to maintain entirety of evidence. Your
         Affiant recognizes the prudence requisite in reviewing and preserving in its original
         form only such records applicable to the violations of law described in this Affidavit
         and in Attachment B in order to prevent unnecessary invasion of privacy and
         overbroad searches. Your Affiant advises it would be impractical and infeasible for
         the Government to review the mirrored images of digital devices that are copied as a
         result of a search warrant issued pursuant to this Application during a single analysis.
         Your Affiant has learned through practical experience that various pieces of evidence
         retrieved from digital devices in investigations often have unknown probative value
         and linkage to other pieces of evidence in the investigation until they are considered
         within the fluid, active, and ongoing investigation of the whole as it develops. In
         other words, the weight of each individual piece of the data fluctuates based upon
         additional investigative measures undertaken, other documents under review and
         incorporation of evidence into a consolidated whole. Analysis is content-relational,
         and the importance of any associated data may grow whenever further analysis is
         performed. The full scope and meaning of the whole of the data is lost if each piece is
         observed individually, and not in sum. Due to the interrelation and correlation
         between pieces of an investigation as that investigation continues, looking at one
         piece of information may lose its full evidentiary value if it is related to another piece


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           of information, yet its complement is not preserved along with the original. In the
           past, your Affiant has reviewed activity and data on digital devices pursuant to search
           warrants in the course of ongoing criminal investigations. Your affiant has learned
           from that experience, as well as other investigative efforts, that multiple reviews of
           the data at different times is necessary to understand the full value of the information
           contained therein, and to determine whether it is within the scope of the items sought
           in Attachment B. In order to obtain the full picture and meaning of the data from the
           information sought in Attachments A and B of this application, the Government
           would need to maintain access to all of the resultant data, as the completeness and
           potential of probative value of the data must be assessed within the full scope of the
           investigation. As such, your Affiant respectfully requests the ability to maintain the
           whole of the data obtained as a result of the search warrant, and to maintain and to
           review the data in the control and custody of the Government and law enforcement at
           times deemed necessary during the investigation, rather than minimize the content to
           certain communications deemed important at one time. As with all evidence, the
           Government will maintain the evidence and mirror images of the evidence in its
           custody and control, without alteration, amendment, or access by persons unrelated to
           the investigation.

29. Based on the foregoing, and consistent with Rule 41(e)(2)(B), when persons executing the
    warrant conclude that it would be impractical to review the media on-site, the warrant I am
    applying for permits both on-site seizing, imaging and searching as well as off-site imaging
    and searching of storage media that reasonably appear to contain some or all of the evidence
    described in the warrant, thus permitting its later and perhaps repeated examination
    consistent with the warrant. The examination may require techniques, including but not
    limited to computer-assisted scans of the entire medium, that might expose many parts of a
    hard drive to human inspection in order to determine whether it is evidence described by the
    warrant.

30. Because several people may share the Subject Premises as a residence, it is possible that the
    Subject Premises will contain computers that are predominantly used, and perhaps owned, by
    persons who are not suspected of a crime. If it is nonetheless determined that it is possible
    that the things described in this warrant could be found on any of those computers or storage
    media, the warrant applied for would permit the seizure and review of those items as well.

31. Your Affiant knows from training and experience that digital storage devices can be very
    large in capacity, yet very small in physical size. Additionally, your Affiant knows from
    training and experience that those who are in possession of such devices also tend to keep
    them on their persons, especially when they may contain contraband or other evidence of a
    crime. The storage capacity of such devices can be as large as tens of gigabytes in size as
    further described below, which allows for the storage of thousands of images and videos as
    well as other digital information such as calendars, contact lists, programs and text
    documents. Such storage devices can be smaller than a postage stamp in size, which allows
    them to be easily hidden in a person’s pocket.



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32. Based on my training and experience, I know that Apple devices typically are equipped with
    “Touch ID.” A Touch ID sensor, a round button on the iPhone or iPad, can recognize
    fingerprints. The fingerprints authorized to access the particular device are a part of the
    security settings of the device and will allow access to the device in lieu of entering a
    numerical passcode or longer alpha-numerical password, whichever the device is configured
    by the user to require. The Touch ID feature only permits up to five attempts with a
    fingerprint before the device will require the user to enter a passcode. Furthermore, if the
    device is equipped with an operating system that is earlier than version 9.3, the Touch ID
    feature will not substitute for the use of a passcode or password if more than 48 hours have
    passed since the device has been unlocked; in other words, if more than 48 hours have passed
    since the device was accessed, the device will require the passcode or password programmed
    by the user and will not allow access to the device based on a fingerprint alone. If the
    operating system is version 9.3 or later, that time frame shrinks to 8 hours. Similarly, Touch
    ID will not allow access if the device has been turned on or restarted, if the device has
    received a remote lock command, or if five attempts to match a fingerprint have been
    unsuccessful. For these reasons, it is necessary to use the fingerprints and thumbprints of any
    device’s users to attempt to gain access to any Apple devices found at the Subject Premises
    while executing the search warrant. The government may not be able to obtain the contents
    of the Apple devices if those fingerprints are not used to access the Apple devices by
    depressing them against the Touch ID button. Although I do not know which of the ten
    finger or fingers are authorized to access on any given Apple device and only five attempts
    are permitted, I know based on my training and experience that it is common for people to
    use one of their thumbs or index fingers for Touch ID, and in any event all that would result
    from successive failed attempts is the requirement to use the authorized passcode or
    password.

33. Similarly, in my training and experience I know that other manufacturers’ devices have the
    same capability as Touch ID—that is, the ability to unlock the phone with a fingerprint. In
    addition, some applications loaded onto mobile devices or other electronic devices may be
    secured by the user with a thumbprint or fingerprint. Common among these types of
    applications are applications such as mobile banking apps or other financial applications,
    password storage applications, and secure communications apps, among others.

34. Due to the foregoing, I am informing the Court that law enforcement intends to press the
    fingers (including thumbs) of individuals found at the Subject Premises to the Touch ID
    sensor or other device fingerprint sensor of the seized device, to the extent a visual inspection
    of those devices reveals that the device has a fingerprint sensor located pursuant to the
    warrant requested by this Affidavit for the purpose of attempting to unlock the device via
    Touch ID or other fingerprint sensor in order to search the contents (including applications)
    as authorized by this warrant.

    BACKGROUND REGARDING THE INTERNET AND CHILD EXPLOITATION

35. I have received and continue to receive training regarding the crimes involving the sexual
    exploitation of children. I also own my own computer, have personal knowledge of the


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   operation of a computer, and have accessed the Internet for numerous years. Based on this
   training and knowledge, and the experience of other law enforcement personnel involved in
   this investigation, I know the following:

36. Child pornographers can produce images using a wireless device such as a cell phone.
    Photos can also be made using cameras, then can be transferred onto another device either
    using wire or wireless technology. Images can also be uploaded to Internet-based storage
    commonly referred to as the “cloud.” Hard-copy images can also be scanned into a computer.
    Via the Internet, connection can be made to literally millions of computers around the world.
    Child pornography can be transferred quickly and easily via electronic mail or virtually
    countless other online platforms, communication services, storage services, and applications.

37. A computer's capability to store images in digital form makes it an ideal repository for child
    pornography and other files related to the sexual abuse and exploitation of children. The
    digital-storage capacity in devices and in the “cloud” has grown tremendously within the last
    several years. Thumb drives with a capacity of 32 gigabytes are not uncommon. Flash cards
    with a capacity of 32 gigabytes are not uncommon. Hard drives with the capacity of 500
    gigabytes up to 3 terabytes are not uncommon. Phones with over 100 gigabytes in storage
    are not uncommon. Devices can store thousands of images and videos at very high
    resolution. These devices are often internet capable and can not only store, but can transmit
    images via the internet and can use the devices to store images and documents in internet or
    “cloud” storage spaces. Once this is done, there is no readily apparent evidence at the "scene
    of the crime". Only with careful laboratory examination of electronic storage devices is it
    possible to recreate the evidence trail.

38. With Internet access, a computer user can transport an image file from the Internet or from
    another user’s computer to his own computer, so that the image file is stored in his computer.
    The process of transporting an image file to one’s own computer is called “downloading”.
    The user can then display the image file on his computer screen, and can choose to “save” the
    image on his computer and/or print out a hard copy of the image by using a printer device
    (such as a laser or inkjet printer). Sometimes the only method to recreate the evidence trail
    of this behavior is with careful laboratory examination of the computer, modem, printer, and
    other electronic devices.

39. Your Affiant knows from experience, as well as information imparted to me by other law
    enforcement officers, that search warrants of residences involved in computer or digitally
    related criminal activity usually produce items that tend to establish ownership or use of
    digital devices and ownership or use of any Internet service accounts accessed to obtain child
    pornography to include credit card bills, telephone bills, correspondence and other
    identification documents.

40. Your Affiant knows from experience, as well as information imparted to me by other law
    enforcement officers, that search warrants of residences usually reveal items that tend to
    show dominion and control of the property searched, to include utility bills, telephone bills,
    correspondence, rental agreements and other identification documents.


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                                        INVESTIGATION

41. On or about June 28, 2019, an FBI Task Force Officer (TFO) from the Denver, Colorado FBI
    Office, acting in an undercover capacity, was online utilizing the BitTorrent network
    searching for individuals sharing child pornography files.

42. BitTorrent is one of many peer-to-peer (P2P) file sharing networks available online. For a
    user to become part of the BitTorrent network, the user must first obtain BitTorrent software
    and install it on a computer or mobile device. When the BitTorrent software is running and
    the device is connected to the Internet, the user is able to download files from other users on
    the BitTorrent network and share files from their device with other BitTorrent users.

43. Users of the BitTorrent network wishing to share new content will use a BitTorrent program
    to create a “torrent” file for the file or group of files they wish to share. A torrent file is a
    small file that contains information about the file(s) and provides a method for a user to
    download the file(s) referenced in the torrent from other BitTorrent users. Torrent files are
    typically found as the result of keyword searches on Internet sites that host or link to them.
    Torrent files may be referenced by their “infohash,” which uniquely identifies the torrent
    based on the file(s) associated with the torrent file.

44. To download file(s) from other users on the BitTorrent network, a user typically obtains a
    torrent file. The BitTorrent software processes the information in the torrent file and locates
    devices on the BitTorrent network sharing all or parts or the actual file(s) being sought. The
    download of the content referenced in the torrent is achieved after the requesting computer
    and the sharing computer(s) directly connect to each other through the Internet using the
    BitTorrent software.

45. On or about June 28, 2019, the FBI TFO in Denver was connected to the BitTorrent network.
    The TFO directed his investigative focus to a device at IP address 73.3.140.92 because that
    IP address was a potential download candidate for files that appeared to be related to the
    distribution of child pornography.

46. On June 28, 2019, between the hours of approximately 18:07 ET and 19:39 ET, using a
    computer running law enforcement investigative BitTorrent software, the Denver TFO
    directly connected to the device at IP address 73.3.140.92, and downloaded approximately 2
    partial files that the device with IP address 73.3.140.92 was making available for sharing.
    The device at IP address 73.3.140.92 was the sole candidate for the two partial downloads,
    and as such, each of the partial files was downloaded directly from this IP address. I
    reviewed the files downloaded by the Denver TFO and observed only the file names, not
    content, were successfully downloaded. The file names were St Petersburg (a03) – 15Yo
    Girl and 11Yo Boy.avi and hidden beach [PTHC] EJ-05.avi . I know from my training
    and experience that PTHC typically refers to Pre-Teen Hardcore. I also know from my
    training and experience that such “partial downloads” can indicate a BitTorrent user is
    downloading files from BitTorrent and moving the downloaded files from their designated


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   downloads folder to another folder before the BitTorrent files can be uploaded in full to
   another BitTorrent user. As a result of moving the files, a BitTorrent user may see a partial
   file – such as a file name – but no content within the file.

47. On or about August 26, 2019, I served an Administrative Subpoena to Comcast for the
    subscriber information for the IP address 73.3.140.92 for the dates June 26, 2019 to June 29,
    2019 (inclusive of June 26, 2019 and June 29, 2019).

48. On or about August 27, 2019 Comcast responded to the Administrative Subpoena and
    advised the subscriber to the IP address 73.3.140.92 for the dates June 26, 2019 to June 29,
    2019 ET, was subscriber Brian Jackson, service address 830 Centennial Drive, Bennett,
    Colorado 80102-7866, billing address 2200 N. Ursula Street, Aurora, Colorado 80045,
    telephone number 303-895-4998, email user ID jacksonb314159, with an unknown start of
    service.

49. Investigation has determined that Brian Christopher Jackson, year of birth 1981, is likely the
    sole individual residing at 830 Centennial Drive, Bennet, Colorado 80102. On or about
    October 3, 2019, FBI Agents observed a Silver Subaru Impreza with the license plate
    ESQ042 in the driveway at 830 Centennial Drive, Bennett, Colorado 80102. On October 29,
    2019, I confirmed that the vehicle with Colorado license plate ESQ042 is registered to Brian
    C. Jackson at 830 Centennial Drive, Bennett, Colorado from February of 2017 to March of
    2020. Per public database checks, Brian Jackson was the last purchaser of 830 Centennial
    Drive, Bennett, Colorado 80102 in April of 2016.

50. On or about October 1, 2019, FBI TFO John Donohoe reached out to Internet Crimes
    Against Children (ICAC) Detectives Mark Enomoto, Kevin Donahue, and Michael Garnsey
    and provided them with the IP address 73.3.140.92 to determine if any of these detectives
    had downloaded child pornography from IP address 73.3.140.92. The detectives confirmed
    that they had used BitTorrent to download child pornography files from IP address
    73.3.140.92 and sent TFO Donohoe the child pornography files of interest which they had
    downloaded from IP address 73.3.140.92. I reviewed the files and observed the following:
                       a. Detective Michael Garnsey downloaded file xxcaliaxx2.avi from IP
                          address 73.3.140.92 on October 26, 2018 between 0948 and 1215
                          (time zone not specified); the device at IP address 73.3.140.92 was the
                          sole candidate for the download. I reviewed the download and
                          observed it was a video file of what appeared to be two pre-pubescent
                          or newly pubescent girls (small breasts with no hair near genitalia
                          whom your affiant would assess to be approximately eight years old)
                          appeared naked in the video with their genitals exposed; the two girls
                          touched their vaginas and inserted their fingers into their
                          vaginas/anuses.

                                  1. On or about October 30, SA Adam Krob served a subpoena
                                     on Comcast for subscriber information for IP address


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                                73.3.140.92 from October 24, 2018 to October 28, 2018.
                                Comcast responded to the subpoena on or about October
                                30, 2019 and indicated for the dates October 24, 2018 ET
                                to October 28, 2018 ET, Comcast could not identify a
                                subscriber account associated with the request. On October
                                31, 2019, I talked with a Comcast legal representative who
                                advised me that Comcast only keeps subscriber data for
                                180 days.

                  b. Detective Mark Enomoto downloaded file 000004.mpg from IP
                     address 73.3.140.92 on July 12, 2019 at approximately 4:41:16 AM
                     UTC; the file depicted a nude prepubescent female approximately 6-7
                     years old on her back being vaginally penetrated by an adult male. The
                     girl is then placed on her stomach and penetrated both vaginally and
                     anally until the adult male ejaculates on her back.

                             1. On or about October 31, 2019, SA Adam Krob served a
                                subpoena on Comcast for subscriber information for IP
                                address 73.3.140.92 from July 8, 2019 to July 16, 2019
                                (inclusive of the dates July 8, 2019 and July 16, 2019). On
                                or about October 31, 2019, Comcast responded to the
                                subpoena and indicated that for the dates July 8, 2019 to
                                July 16, 2019 the subscriber for IP address 73.3.140.92 was
                                Brian Jackson, service address 830 Centennial Drive,
                                Bennett, Colorado 80102, billing address 2200 N. Ursula
                                Street, Aurora, Colorado 80045, telephone number 303-
                                896-4998, email user ID jacksonb314159.

                  c. Detective Mark Enomoto downloaded file PTHC – BabyJ 5yo Exib
                     Fuck (48m58s).mpg from IP address 73.3.140.92 on July 14, 2019 at
                     approximately 6:33:05 AM UTC; the file depicted a nude
                     prepubescent female of about 5 years old on her back being vaginally
                     penetrated by an adult male. Later in the video the girl is also
                     penetrated anally and orally. The adult male ejaculates on her
                     stomach.

                             1. On or about October 31, 2019, SA Adam Krob served a
                                subpoena on Comcast for subscriber information for IP
                                address 73.3.140.92 from July 8, 2019 to July 16, 2019
                                (inclusive of the dates July 8, 2019 and July 16, 2019). On
                                or about October 31, 2019, Comcast responded to the
                                subpoena and indicated that for the dates July 8, 2019 to
                                July 16, 2019 the subscriber for IP address 73.3.140.92 was
                                Brian Jackson, service address 830 Centennial Drive,


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                                     Bennett, Colorado 80102, billing address 2200 N. Ursula
                                     Street, Aurora, Colorado 80045, telephone number 303-
                                     896-4998, email user ID jacksonb314159.

                      d. Detective Kevin Donahue downloaded file (強姦)(ロリ)幼女レイプ（超
                          過激）.mpg from IP address 73.3.140.92 on May 11, 2019 at
                          approximately 9:17:22 UTC. The video depicted a prepubescent
                          female of about 5-6 years old with her legs spread and bound to a
                          length of bamboo cane. The girl is digitally vaginally penetrated, as
                          well as penetrated vaginally by an object.

                                 1. On or about October 31, 2019, SA Adam Krob served a
                                    subpoena on Comcast for subscriber information for IP
                                    address 73.3.140.92 from May 8, 2019 to May 15, 2019
                                    (inclusive of the dates May 8, 2019 and May 15, 2019). On
                                    or about October 31, 2019, Comcast responded to the
                                    subpoena and indicated that for the dates May 8, 2019 to
                                    May 15, 2019 the subscriber for IP address 73.3.140.92
                                    was Brian Jackson, service address 830 Centennial Drive,
                                    Bennett, Colorado 80102, billing address 2200 N. Ursula
                                    Street, Aurora, Colorado 80045, telephone number 303-
                                    896-4998, email user ID jacksonb314159.

  INDIVIDUALS WHO HAVE A SEXUAL INTEREST IN CHILDREN AND RECEIVE
               AND/OR DISTRIBUTE CHILD PORNOGRAPHY

51. Based on my training and experience related to investigations involving child pornography
    and the sexual abuse of children, and from information imparted to me by other law
    enforcement officers, I have learned that individuals who possess, receive, distribute or
    access with intent to view child pornography have a sexual interest in children and in images
    of children. Based upon my experience in child pornography investigations, and the training
    and experience of other law enforcement officers with whom I have had discussions, there
    are certain characteristics common to individuals involved in the receipt and collection of
    child pornography:

       a. The majority of individuals who collect child pornography are persons who have a
          sexual attraction to children. They receive sexual gratification and satisfaction from
          sexual fantasies fueled by depictions of children that are sexual in nature.

       b. The majority of individuals who collect child pornography collect sexually explicit
          materials, which may consist of photographs, magazines, motion pictures, video
          tapes, books, slides, computer graphics or digital or other images for their own sexual
          gratification. The majority of these individuals also collect child erotica, which may


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         consist of images or text that do not rise to the level of child pornography but which
         nonetheless fuel their sexual fantasies involving children. Non-pornographic,
         seemingly innocuous images of minors are often found on computers and digital
         storage devices that also contain child pornography, or that is used to communicate
         with others about sexual activity or interest in children. Such images are useful in
         attempting to identify actual minors depicted in child pornography images found
         during the execution of a search warrant. In certain cases, such images may also
         assist in determining the origins of a particular child pornography image or series of
         images.

      c. The majority of individuals who collect child pornography rarely, if ever, dispose of
         their sexually explicit materials and may go to great lengths to conceal and protect
         from discovery, theft, and damage their collections of illicit materials. They almost
         always maintain their collections in the privacy and security of their homes, cars,
         garages, sheds, and other secure storage locations, such as in a digital or electronic
         format in a safe, secure, and private environment, including in cloud-based storage
         online or on their person. The majority of individuals who collect child pornography
         often seek out like-minded individuals, either in person or on the Internet, to share
         information and trade depictions of child pornography and child erotica as a means of
         gaining status, trust, acceptance and support. This contact helps these individuals to
         rationalize and validate their sexual interest and associated behavior. The different
         Internet-based vehicles used by such individuals to communicate with each other
         include, but are not limited to, e-mail, e-mail groups, bulletin boards, IRC,
         newsgroups, instant messaging, and other similar vehicles.

      d. The majority of individuals who collect child pornography maintain books,
         magazines, newspapers and other writings, in hard copy or digital medium, on the
         subject of sexual activities with children, as a way of understanding their own
         feelings toward children, justifying those feelings and finding comfort for their illicit
         behavior and desires. Such individuals rarely destroy these materials because of the
         psychological support they provide.

      e. The majority of individuals who collect child pornography often collect, read, copy or
         maintain names, screen names or nicknames, addresses (including e-mail addresses),
         phone numbers, or lists of persons who have advertised or otherwise made known in
         publications and on the Internet that they have similar sexual interests. These
         contacts are maintained as a means of personal referral, exchange or commercial
         profit. These names may be maintained in the original medium from which they were
         derived, in telephone books or notebooks, on computer storage devices, or merely on
         scraps of paper.

      f. Based upon experience, and the training and experience of other law enforcement
         officers with whom I have had discussions, your Affiant knows that persons in
         engaged in the production and possession of child erotica are also often involved in
         the production and possession of child pornography. Likewise, your Affiant knows


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           from that persons involved in the production and possession of child pornography are
           often involved in the production and possession of child erotica.

       g. Based on my experience, and conversations with others in law enforcement, I
          understand that an individual who possesses images and/or videos depicting child
          pornography on one digital storage devices and/or Internet email or online storage
          account is likely to possess child pornography on additional digital storage devices
          and/or Internet email or online storage accounts that s/he possesses. Additionally,
          based on this experience and these conversations, I understand that an individual who
          discusses the sexual abuse and/or exploitation of children on one digital storage
          device is likely to conduct those communications on additional digital storage devices
          that s/he possesses.

                                         CONCLUSION

52. Based on the investigation described above, probable cause exists to believe that at the
    residence located at the place described in Attachment A, will be found evidence, fruits, and
    instrumentalities of a violation of Title 18, United States Code, Sections 2252(a)(1), (2), and
    (4) and 2252A(a)(1), (2), (3), and (5) (described on Attachment B).

53. I, therefore, respectfully request that the attached warrant be issued authorizing the search
    and seizure of the items listed in Attachment B.



I declare under penalty of perjury that the foregoing is true and correct to the best of my
information, knowledge, and belief.

                                              _ s/ Allison L. Hirsch
                                              Allison L. Hirsch, Special Agent
                                              Federal Bureau of Investigation


   SUBSCRIBED and SWORN before me this 4th day of November, 2019


   ___________________________________
   UNITED STATES MAGISTRATE JUDGE



Application for search warrant was reviewed and is submitted by David Tonini, Assistant United
States Attorney.




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